Case 1:15-cr-20299-MGC Document 48 Entered on FLSD Docket 05/03/2018 Page 1 of
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                Case: 18-10774 Date Fi(1ed:
                                         of 3)
                                            05/03/2018 Page:
                                                                                      May 3, 2018
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                           MIAMI


                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           May 03, 2018

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 18-10774-JJ
  Case Style: USA v. Pedro Olivares
  District Court Docket No: 1:15-cr-20299-MGC-1

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of such
  order. No additional time shall be allowed for mailing."

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Tiffany A. Tucker, JJ/bmc
  Phone #: (404)335-6193

  Enclosure(s)

                                                                 DIS-4 Multi-purpose dismissal letter
Case 1:15-cr-20299-MGC Document 48 Entered on FLSD Docket 05/03/2018 Page 2 of 3
                Case: 18-10774 Date Filed:
                                     (2 of 3)
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                        IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT


                                          No. 18-10774-JJ


 UNITED STATES OF AMERICA,

                                                                                  Plaintiff-Appellee,

                                               versus

 PEDRO LUIS MARTIN OLIVARES,

                                                                              Defendant-Appellant.


                            Appeal from the United States District Court
                                for the Southern District of Florida


 Before: JULIE CARNES, JILL PRYOR and NEWSOM, Circuit Judges.

 BY THE COURT:

        This appeal is DISMISSED, sua sponte, for lack of jurisdiction. Appellant Pedro Luis

 Martin Olivares appeals from the district court's order denying his motion to dismiss the

 indictment on speedy trial grounds. This order is not appealable as a final decision because the

 district court has not yet entered a final order in the form of a sentence and corresponding

 judgment. See 28 U.S.C. § 1291; Flanagan v. United States, 465 U.S. 259, 263-66 (1984). In

 addition, the order does not qualify as immediately appealable under the stringent collateral order

 doctrine. See United States v. MacDonald, 435 U.S. 850, 857 & n.6 (1978) (concluding that the

 denial of a motion to dismiss an indictment on speedy trial grounds, whatever its factual basis, is

 not immediately appealable under the collateral order doctrine).
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                Case: 18-10774 Date Filed:
                                     (3 of 3)
                                           05/03/2018 Page: 2 of 2


        Any pending motions are DENIED as moot. No motion for reconsideration may be filed

 unless it complies with the timing and other requirements of 11th Cir. R. 27·2 and all other

 applicable rules.




                                                 2
